 From:       "Auerbach, Jonathan" <Jonathan.Auerbach@cnn.com>
 Date:       Friday, September 03, 2021 12:52 PM
 To:         <stevenbiss@earthlink net>
 Subject:    CNN request for comment

Dear Mr. Biss,

This Sunday, CNN's Reliable Sources is planning on doing a segment focusing on recent developments in cases
brought by Congressman Devin Nunes and his family members against journalists, media organizations, and
other individuals. We request comment from you regarding the following:

   l   During a deposition in the NuStar Farms LLC v. Lizza and Hearst Magazines case, Anthony Nunes III, the
       brother of Congressman Nunes, said he had "no idea" who is paying the lawyers in that case. Who is
       paying the legal fees in this case?
   l   A Virginia court last month dismissed Liz Mair from the Congressman's lawsuit against Twitter and Ms.
       Mair. Do you have any comment on the court's dismissal of Ms. Mair from the suit?




We respectfully request a response by 1 p.m. EDT Saturday.




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